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UNITED STATES DISTRICT COURT                                                             11/25/2019
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
                                                               :
MELISSA KAYE,                                                  :
                                                               :
                                    Plaintiff,                 :   ORDER
                                                               :
                  -v-                                          :   18-CV-12137 (JPO) (JLC)
                                                               :
NEW YORK CITY HEALTH AND                                       :
HOSPITALS CORPORATION, et al,                                  :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X

JAMES L. COTT, United States Magistrate Judge.

        By Order of Reference dated November 20, 2019 (Dkt. No. 51), Judge Oetken

referred this employment discrimination case to me for general pre-trial supervision

and for resolution of a specific non-dispositive motion. On November 19, 2019,

plaintiff filed a letter addressed to Judge Oetken requesting intervention in the

development of ESI protocol. Dkt. No. 50. On November 22, 2019, defendants filed

a response. Dkt. No. 52. That same day, plaintiff filed another letter addressed to

the undersigned requesting a discovery conference on the same matter (any such

correspondence in the future seeking relief from the Court should be made by letter-

motion not by letter). Dkt. No. 53.

        The Court will hold a conference on December 4, 2019 at 11:00 a.m. in

Courtroom 21D, United States Courthouse, 500 Pearl Street, New York, New York

to address the issues raised in the parties’ correspondence. All parties must appear




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at this conference and should arrive prior to the scheduled time so that the

conference may begin promptly.

      Upon receipt of this order, counsel are directed to confirm with all other

counsel that each party to this proceeding has received a copy of this order. In

addition, and even though it appears that they have previously attempted to meet

and confer, the parties are directed to meet and confer further in advance of the

conference to determine whether they can resolve or at least narrow any of the

outstanding issues without judicial intervention.

      SO ORDERED.

Dated: November 25, 2019
       New York, New York




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